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 7
                               IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                        )       No. CR-S-11-190 MCE
                                                      )
11                                                    )
               Plaintiff,                             )       AMENDED STIPULATION REGARDING
12                                                    )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
13                                                    )       ORDER
     NICHOLAS RAMIREZ, et al.,                        )
14                                                    )       Date: August 13, 2015
                                                      )       Time: 9:00 a.m.
15             Defendants.                            )       Judge: Honorable Morrison C. England, Jr.
                                                      )
16                                                    )
                                                      )
17

18             The United States of America through its undersigned counsel, Jason Hitt, Assistant
19   United States Attorney, together with counsel for defendant Manuel Keith, Jan David Karowsky,
20   Esq. hereby stipulate to the following:
21
          1. By previous order, this matter was set for status conference on August 13, 2015.
22
          2. By this stipulation, Manuel Keith now moves to continue the status conference until
23
     October 22, 2015 and to exclude time between August 13, 2015 and November 19, 2015 under
24
     the Local Code T-2 and T-4.
25
          3.   The parties agree and stipulate and request the Court find the following:
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               a. This case was the product of a lengthy investigation in which wiretaps were utilized
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                   on multiple telephones. The government has produced discovery which to date
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 1      includes 1,952 pages containing wiretap applications, periodic reports, and
 2      investigative materials. Additionally, the government has provided defense counsel
 3      with voluminous wiretap conversations. The government submitted a plea agreement
 4
        to counsel for Mr. Keith, in which a “phone count” was offered. Mr. Keith is a
 5
        musician who travels internationally. A phone count will be treated as a drug offense
 6
        and will prohibit Mr. Keith from entering a number of countries in which he has
 7
        performed and where he hopes to perform in the future. Therefore, counsel for Mr.
 8
        Keith is continuing in his efforts to persuade the U.S. Attorney’s office to offer a plea
 9
        to misprision of felony, which would not be considered to be a drug offense. Such a
10
        plea would not result in any less custodial time than a plea to a phone count. The
11
        government is still considering the counter offer. Further, Mr. Keith lives in Queens,
12
        New York. A continuance now will provide additionally needed time for counsel for
13
        the government to continue to consider the counter offer and time for Mr. Keith to
14

15
        gather the funds to pay for a round trip airline ticket to Sacramento in order to attend

16      court to enter a plea. Further, based on defense counsel’s schedule, the date of

17      October 22, 2015 for the next status conference will hopefully assure a resolution on

18      that date.

19   b. The Government does not object to the continuance.
20   c. Based on the above-stated findings, the ends of justice served by granting the
21      requested continuance outweigh the best interests of the public and the defendant in a
22      speedy trial within the original date prescribed by the Speedy Trial Act.
23
     d. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
24
        Section 3161(h)(7)(A) within which trial must commence, the time period from
25
        August 13, 2015 through November 19, 2015 inclusive, is deemed excludable
26
        pursuant to 18 United States Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv),
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        corresponding to Local Code T-2 and T-4 because it results from a continuance
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        granted by the Court at defendant’s request on the basis of the Court’s finding that the

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 1              ends of justice served by taking such action outweigh the best interest of the public
 2              and the defendant in a speedy trial.
 3     4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
 4
            Speedy Trial Act dictate that additional time periods are excludable from the period within
 5
            which a trial must commence.
 6
     IT IS SO STIPULATED.
 7
     DATED:         August 12, 2015                        BENJAMIN WAGNER
 8
                                                           United States Attorney
 9
                                                           /s/ Jason Hitt
10                                                by
                                                           Jason Hitt
11
                                                           Assistant U.S. Attorney
12                                                         by Jan David Karowsky
                                                           w/ Mr. Hitt’s consent
13

14
     DATED:         August 12, 2015                        JAN DAVID KAROWSKY
15                                                         Attorney at Law
                                                           A Professional Corporation
16
                                                           /s/ Jan Karowsky
17
                                                  by
18                                                         JAN DAVID KAROWSKY
                                                           Attorney for Defendant
19                                                         Manuel Keith
20
                                                  ORDER
21
             IT IS SO ORDERED.
22
     Dated: August 12, 2015
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